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                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             www. flsb. uscourts.qov

In re:                                                                 Case No.
                                                                       Chapter

   /1 /J fl<ef{~ fn cG/(C\ Debtor/
Curi-,S mcNeaf
      APPLICATION FOR INDIVIDUALS TO PAY THE FILING FEE IN INSTALLMENTS

  1. Which chapter of the Bankruptcy Code are you choosing to file under:


         Petition Filing Fee                Initial Installment Payment        Final Installment Payment
         •   Chapter 7:      $338                   $169.00                               $169.00
         •   Chapter 11: $1,738                     $869.00                               $869.00
         •   Chapter 12: $278                       $139.00                               $139.00
         i;J,,Chapter 13: $313                      $156.50                               $156.50

  2. I am unable to pay the full filing fee with the petition and apply to pay in installments in
     accordance with Bankruptcy Rule 1006, Local Rule 1006-1 and the current mandatory payment
     schedule established by this court.

  3. I understand that, in order for this application to be approved absent further order of the court, I
         must have paid half of the filing fee       cJ!!x
                                                       at the time of filing my petition and I must pay the
         remaining half which equals $ / 5'~ 1 :i__JJ_      on or before 60 days from the filing date of my
         petition.                       •

  4. I understand that payment must be in money order, cashier's or "offici::JI" checks made payable
         to "Clerk, U.S. Court" or electronic payment using a debit card or ACH (Automated Clearing
         House) bank-to-bank transaction in which payment is withdrawn directly from a bank account to
         another.

 5.      I understand that if I fail to pay the fee when due, my bankruptcy case may be dismissed and I
         may not receive a discharge of my debts. If I am a chapter 13 debtor, I understand that upon
         confirmation of my plan, the unpaid balance of the filing fee must be paid in full. If I am a
         chapter 7 debtor, I understand my discharge will not be entered until my filing fee is paid in full.

 6.      I understand that I must pay the entire filing fee before making any more payments or transfer
         any more property to an attorney, bankruptcy petition preparer, or anyone else for services in
         connection with this bankruptcy case.
               fV      If!
Signature of .<ttorney                                          Signature of Debtor                  Date
                                                                (In •; ; ; ; ; , h spouses must sign.)

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Name of Attofney                                                Signature of Joint Debtor (if any)   Date

LF-3 (rev. 09/07/21)
